CaSe 15-05422-LA7 Filed 05/03/18 Entered 05/03/18 12207218 DOC 88 PQ. 1 Of 2

CSD 1184 [05/19/17]
Name, Address, Telephone No. & |.D. No.

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§§ }`_i‘~l?*l RL§’{’ 5}~£ * v
UN|TED STATES BANKRUPTCY CCURT \//

SOUTHERN D|STR|CT OF CAL|FORN|A
325 West F Street, San Diego, Califomia 92101-6991

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BANKRuPTcY No. lju_ UZZ: L,A"]

Tax |.D.(ElN)#: /S.S.#:XXX-XX- Debtor.

 

REQUEST AND NOT|CE OF HEAR|NG1

TO:

\ _, \
RE: MoTloN F|LED oN BEHALF oF [insert name of moving panym\\g: ml\/\\ (\ 01 w 2
, \ _ \ \
You are notified that ` \ QPH*\"\'(\. l`

the undersigned party in interest, ereby objects to your Motion r Notice of |ntent] and requests a hearing pursuant to your
Notice of Motion [or lntent] to take the following action [insert description from Notice|:

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YourNoticet”lxed 2 as the lastdate for serving and h|ing this Request
and Notice of Hearing and the accompanying Dec|aration"’ in Opposition to Motion [Notice of |ntent]. The Opposing Party is
[check one]:

[ ] Debtor [ ] United States Trustee [ ]Trustee

/><j;reditor [ 1 other (specify):
You are further notified that a hearing will be held in Department Q , Room g g § of the Jacob Wei b rger
United S§ates Courthouse, located at 325 West F Street, San Diego, Ca|ifornia 92101-69 1, on. h 399 j

 

at .m., or as soon thereafter as it can be he|d.

' . 7 \
DATED: § §f§§i §§ §§ §§ M@;UQ \ \\
52¢`% {Attenny'for] Opposing Party. Z

1DO NOT USE TH|S FORM FOR REQUEST|NG A HEAR|NG ON MOT|ON FOR REL|EF FROM STAY. USE LOCAL FORM CSD 1186 INSTEAD.

 

2lMPORTANT NOT|CE: Before this date, YOU MUST F|LE the original and one copy of this Request and Notice of Hearing together with your
Declaration in Opposition with Proof of Service with the Clerk of the Bankruptcy Court at the address shown above, and serve a copy of the papers on the
moving party. You may obtain a hearing date and lime from the Court by calling the number specified in the Notice of Motion [or |ntent].

3NOTE: This form merely notices the hearing and places il on the Court's calendar. Additiona| declarations, points and authorities, etc.. may be
neoessary, since the Courl expects full compliance with LBR 9013-7(b).

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CSD 1184 (Page 2) [05/19/17]
CERT|F|CATE 0F SERV|CE
|, the undersigned whose address appears below, certify:
That | am, and at all relevant times was, more than 18 years of age;

Thaton_;dayof \\/\Ct l l zol§S i served a true copy of this REQuEsT AND NoTicE oF
HEAR|NG, together with the following "p|§adings [describe any other papers]:

by [describe here mode of service]:

on the following persons [set forth name and address of each person served] and/or as checked below:

[ ] Attorney for Moving Party: 0 Attorney for Debtor (if required):

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qui \)\C§SO\U NGM ge ”\Tu€+€§

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®CX\)\\C\ 5 €m€§(\bg

QQ\V\ §\\Q?j@ QQg Q&QB

>< For Chpt. 7, 11l & 12 cases: [ ] ForODD numbered Chapter 13 cases: [ ] For EVEN numbered Chapter 13 cases:
UN|TED STATES TRUSTEE THOMAS H. B|LLlNGSLEA, JR., TRUSTEE DAV|D L. SKELTON. TRUSTEE
Department of Justice 401 West A Street, Suite 1680 525 B Street, Suite 1430
880 Front Street, Ste. 3230 San Diego, CA 92101 San Diego, CA 92101-4507

San Diego, CA 92101-8897

| certify under penalty of perjury that the foregoing is true and correct.

Executed on 5 » 2 ` `K \ d <`

(Date) (Typed Name and Signature)

`_7(1§1»€; @-\\\GAWQ,

(Address)

ecooitii\i» CO\ QQDQS

(City, State, ZlP Code)

CSD 1184

